Case 1:00-cr-00015-MW-GRJ         Document 1302      Filed 08/18/10     Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                              Case No.: 1:00cr15 – SPM

LINDA WILSON,

     Defendant.
_____________________________/

                       ORDER GRANTING MOTION TO ADOPT
                       AND DENYING CORAM NOBIS RELIEF

       This cause comes before the Court on Defendant’s motion to adopt

William H. Black’s petition for writ of coram nobis. Doc. 1299. Upon

consideration, it is

       ORDERED AND ADJUDGED:

       1.      The motion to adopt (doc. 1299) is granted.

       2.      For the same reasons stated in the order denying coram nobis

relief to Black (doc. 1298), coram nobis relief is denied to Defendant Wilson.

       DONE AND ORDERED this 18th day of August, 2010.



                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   Chief United States District Judge
